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5

6                         UNITED STATES DISTRICT COURT
7
                          CENTAL DISTRICT OF CALIFORNIA
                                EASTERN DIVISION
8

9                                                 Case No.: 5:15-cv-02272-JGB-SP
     JESS WHISENHUNT,
10
                  Plaintiff,
11                                                NOTICE OF SETTLEMENT
           vs.
12

13
     CHASE RECEIVABLES,
14
                  Defendant.
15

16         Plaintiff, JESS WHISENHUNT, by and though his attorney, informs this

17   Honorable Court that Plaintiff has settled his case with Defendant, CHASE

18   RECEIVABLES. The parties are in the process of finalizing settlement, and

19   Plaintiff anticipates the settlement will be finalized in thirty (30) days. Plaintiff

20   respectfully requests that this Honorable Court vacate all dates currently set on

21   calendar for this Defendant.

22

23                                            RESPECTFULLY SUBMITTED,
           Dated: February 3, 2016                 By:/s/ Stuart Price            .
24                                                        Stuart Price, Esq.
                                                          Attorney for Plaintiff,
25                                                        Jess Whisenhut



                                     NOTICE OF SETTLEMENT
                                                -1-
